Case 6:18-cV-02045-ACC-TBS Document 23 Filed 03/14/19 Page 1 of§ Page|D 207

4.

COURTS INTERROGATORIES TO PLAINTIFF IWANSKI
During what period of time were you employed by the Defendant?
March 2014 - April 2018
Who was your immediate supervisor?

Larry Miles -from Dec. 2014 - Dec. 201 7
Mike Ossler -]$~om Dec. 201 7 - Present 4

Did you have a regularly scheduled work period? Ifso, specify.
Monday - Friday 8 am - 5 pm. 40 hours per week.
What was your title or position? Brieily describe your j ob duties.

Inside Parts Sales Representative - My job was to take orders that came in, find the part

in one of our two warehouses, and schedule for delivery of that part with one of our shipping

vendors

5. What was your regular rate of pay? '
$57, 000 / year + Bonus
$27. 40 per hour

$41.]0 OTRate
What is the nature of your claim (check all that apply)?

X Off the clock work (Defendant failed to record, or prohibited you from recording,
all of your working time;

_LMisclassitication (Defendant mistakenly classified you as exempt from overtime);
_X_Miscalculation (Defendant failed to correctly calculate your compensation);
__Other (Please describe):
Provide an accounting of your claim, including:
(a) Dates:

Beginning June of 201 4, three months after 1 began employment until April 2018 1 have

been taking additional calls after work hours. Those dates are as follows, not accounting for
coverage for other employees during vacations, etc.

Case 6:18-cV-O2O45-ACC-TBS Document 23 Filed 03/14/19 Page 2 of 5 Page|D 208

--~2015 Dates
5/10 _ 5/16
5/24 _ 5/30
6/7 - 6/13
6/21 - 6/27
7/5 - 7/11
9/28 _ 10/4
10/12 - 1018
10/26 - 11/1
11/9 _ 11/15
11/23 - 11/29

---2016 Dates
1/4 - 1/10
1/18 - 1/24
2/1 - 2/7
2/15 - 2/21
2/28 - 3/5
3/27 - 4/2
4/24 - 4/3 0
5/22 ~ 5/28
6/19 - 6/25
7/1 7 - 7/23
8/15 - 8/21
9/12 - 9/18
10/10 - 10/16
1 1/7 ~ 1 1/13
12/5 - 12/11

---201 7 Dates
1/8 _ 1/14
1/29 - 2/4
2/19 - 2/25
3/5 - 3/11
3/26 - 4/1
4/16 _ 4/22
4/30 _ 5/6
5/21 _ 5/27
6/4 - 6/10
6/25 - 7/1
7/16 - 7/22
8/6 - 8/12
8/27 ~ 9/2

9/1 7 ~ 9/23

1 0/9 - 10/15
10/23 - 10/29

Case 6:18-cV-O2O45-ACC-TBS Document 23 Filed 03/14/19 Page 3 of 5 Page|D 209

11/6- 11/12
11/20- 11/26
12/4 -12/10
12/18 - 12/24

--2018 Dates
1/1 ~ 1/7
1/15 - 1/21
1/29 - 2/4
2/12 - 2/18
2/26 - 3/4
3/19 - 3/25

During these times 1 have been unable to get a second job or engage in hobbies or
enjoyment that 1 wanted to engage in due to the Defendant requiring a 10-minute turn around on
all calls. 1t necessitated me bringing my laptop,- phone, and hotspot with me everywhere 1 would
go and would require me to stop on the side of the road to enter orders and track down parts. 1
was effectively engaged to wait on a call at all hours, many of which would wake me in my sleep.

(b) Regular hours worked:
1 worked 40 hours a week, Monday through Fridayfrom 9.' 00 A.M. EST to 5 .'00 P.M. EST.
(c) Over-time hours worked:

Calls taken during after-hours periods 102
Average length of time to conclude each_call.' 1 hour, 30 minutes.
Total time calculated for all calls not compensated for: 153 hours

Additional time per day entering orders May 2015 to Dec. 201 7.' 1.5 hours
Additional time per day entering orders Dec. 201 7 to April 2018: . 7 hours
Number of days performed between May 2015 to Dec. 201 7.' 908

Number of days performed between Dec.- 201 7 to April 2018.' 72

Total additional hours.' 1,412.40

Total week days worked engaged to wait.' 255
Total weekend days engaged to wait: 102
Hours engaged to wait - Weekdays.' 63 7.5
Hours engaged to wait - Weekends: 1,326
Total hours worked engaged to wait: 1,963.5

(d) Pay received versus pay claimed:

Pay Received for time worked 2015 - 2018: $195, 000. 00
Pay claimed for additional hours worked at end of shift.' $58, 049. 64 Plus an equal

Case 6:18-cV-02045-ACC-TBS Document 23 Filed 03/14/19 Page 4 of 5 Page|D 210

amount Liquidated
Pay claimed as owed if only for calls: $6,288.30 Plus an equal amount Liquidated
Pay claimed as owed for engaged to wait time.' $80, 699. 85 Plus an equal amount

Liquidated

(e) Total amount claimed:
$138, 749. 49 Plus an equal amount Liquidated

8. If you have brought this case as a collective action:

(a) Describe the class of employees you seek to include in this action.

Not Applicable

(b) Has an opt-in notice been filed for every potential opt-in Plaintiff who
has identified himself or herself as a person who wishes to join this action?

Not Applicable

9. Please specify all attorney's fees and costs incurred to date. With respect to attomey's
fees, please provide the hourly rate(s) sought and the number of hours expended by each person

who has billed time to this case.

1 have paid to date $600. 00 which was for costs and fees My attorneys have billed the
following: ,

Gary Wilson--- Attorney
Rate.' $3 75. 00
Hours.' 1.0

Paul Sutherland--- Attorney
Rate: $225. 00

Hours: 9. 5
10. When did you (or your attorney) first complain to your employer about alleged violations
of the FLSA?

1 made my first complaint roughly around October of 201 7. Other employees had made
complaints prior to that on behalf of all part-sales representatives

l l. Was this complaint written or oral? (If a written complaint, please attach a copy).

My complaints were originally oral and then later were made in writing via my legal
counsel around October of 201 7.

Case 6:18-cV-02045-ACC-TBS Document 23 Filed 03/14/19 Page 5 of 5 Page|D 211

12. What was your employer's response? (If a written response, please attach a copy).

All concerns seemed to be brushed off and not taken seriously until 1 voiced that 1 had been
consulting with an attorney. At that time, we were being required to sign a new agreement which
l understood to change our job description and to allow them to make us work all they wanted
without additional pay. When 1 raised the concern that 1 had and let them know that we were
consulting with an attorney the response suddenly became that Gencor had a ton or a slu of
attorneys for this matter in the event that we did not want to sign and agree

l .
ob lwanski

STATE OF FLORIDA

COUNTY OF O!(j c,t,v-.§ f

BEFORE ME, the undersigned authority, on this day, personally appeared
Plaintiff Name, who being first duly sworn, deposes and says that he/she has read the

foregoing Answers to Interrogatories, knows the contents of same, and to the best 0 f __ _
his/her knowledge and belief, the same are true and correct FL» 'DL 'I_ SLO "' 'T'?% log Ong 0
sWoRN To AND sUBsCRIBED before me eating W\(MC/\’\ 3an _2019.

NOTARY PUBLIC

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Notary Stamp

Signature of Person Taking Acknowledgment

il

CHERYL MATULEW|CZ

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